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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,                        *      CRIMINAL NO. 09-113(DRD)
                                                 *
       Plaintiff,                                *
                                                 *
v.                                               *
                                                 *
[1] MANUEL SANTANA-CABRERA,                      *
                                                 *
       Defendant.                                *


                   OPINION AND ORDER DENYING
            MISJOINDER AND SEVERANCE AND ADOPTING
     REPORT AND RECOMMENDATION OF MAGISTRATE JUDGE, D. 479

       Co-defendant, Manuel Santana-Cabrera, hereinafter referred to as Santana, and

co-defendant Ricardo A. Soler Rivera, hereinafter referred to as “Soler,” were charged

together with a third co-conspirator, George J. Morales, in the original indictment, Docket

No. 3, with a conspiracy to import heroin from the Dominican Republic to Puerto Rico using

couriers who swallowed pellets, the object being a distribution of heroin in Puerto Rico and

Continental United States. The dates covering this particular conspiracy , heroin

importation conspiracy scheme, are from on or about January 1, 2005 to November 14,

2007. (Docket 3, Count I.) Co-defendant Santana was also charged in aiding and abetting

form with various substantive counts of importation of heroin from the Dominican Republic

to the United States, Count V, VI, VII, VIII, X, all occurring from February 24, 2006 until

February 28, 2007. All substantive counts involve, as proffered by the United States, one

kilo or more of heroin except Count X alleging only 994 grams of heroin. The importation

of heroin was to be with an ultimate goal of distributing heroin in Puerto Rico and

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       and distribute cocaine in Puerto Rico and the Continental United States.




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  2006 to June 5, 2008. The object of the conspiracy was to possess with intent to distribute
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             charged with a conspiracy to possess with intent to distribute five kilos or more of cocaine




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   illegal controlled substances (heroin and cocaine) in large amounts (heroin in excess of



                                                                                                                                                                                                                                                                                                                                                     2006 to November 14, 2007 and both involve two common co-conspirators in the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              common facts stated herein.2 The court notices immediately that both conspiracies involve



                                                                                                                                                                                                                                                                                                                                                                                                                                    one kilo and cocaine in excess of five kilos) involving overlapping years, both involve June
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                with various other co-defendants including Ricardo A. Soler Rivera (“Soler”)1 from June 1,




                                                                   distribute heroin and cocaine in Puerto Rico and Continental United States. Co-defendant
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          The two conspiracies are charged as separate conspiracies except as to the




                                                                                                                                                                                                                                                        conspiracy counts, Santana and Soler. The two conspiracies finally intended to affect both
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            In the same indictment, Count XIII, Docket 3, co-defendant Santana was also




                                                                                                                                                              Puerto Rico and the Continental United States as both conspiracies ultimate goal was to
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Santana was also originally charged with three substantive counts of possession with intent

to distribute in aiding and abetting fashion in excess of five kilos of cocaine in Counts XIV,

XVII and from June 3, 2006 until June 2, 2006 again overlapping in years from August 2,

2006 (Count VII) until February 28, 2007 (Count ten). However, the method of transporting

the drugs to Continental United States was different in that the heroin conspiracy involved

body carriers of heroin pellets to Puerto Rico and the carriers of cocaine used switching

luggage by inside facilitators substituting in the belly of the airplane or prior thereto the

original luggage for other luggage containing bricks of cocaine, all as explained in Note 2,

infra.

         The court granted as to the original indictment a cut off for dispositive motions until

September 14, 2009 at the pre-trial conference held on June 11, 2009 (Docket 94.)3

Notwithstanding, the district court authorized defendant Santana-Cabrera to file several

motions late including a Motion to Suppress on November 8, 2009 and Amended Motion

to Suppress on November 18th, 2009 (Dockets 178 and196). Defendant Santana-Cabrera

also filed late a Second Motion to Suppress filed on May 14, 2010 (Docket 286). The last

Motion to Suppress was filed after the Magistrate Judge denied the first Motion to

Suppress on March 24, 2010 (Docket 269).

         In the meantime a superseding indictment was filed on August 4, 2010 (Docket

308). As to the superseding indictment, the new charge as to co-defendant Santana and

other co-defendants merely added substantive counts of possession with intent to

distribute and distribute cocaine, that is, Counts XXII, XXIII, XXIV and XXV as additional


         3
                Alexander Zeno had previously appeared since July 27, 2009 and later on August 8,
                2009. (Dockets 116 and 123).

                                                  3
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counts all charging actual distribution of cocaine in aiding and abetting fashion dated July

2006, August 5, 2006, September 2006 and August 2007.4

       Defendant filed a Motion as to Misjoinder and Severance on February 2, 2011, that

is almost two years after the original indictment which previously had the same two

separately charged conspiracies, the heroin importation to Puerto Rico to be used for

distribution in Puerto Rico and Continental United States and the other as to possession

with intent to distribute cocaine also destined for distribution in Puerto Rico and Continental

United States. The original indictment also had various substantive counts as to co-

defendant Santana relating to importation of heroin to Puerto Rico for distribution in Puerto

Rico and Continental United States, and various substantive counts of possession with

intent to distribute cocaine in Puerto Rico and Continental United States all of which

remained unaltered from the original indictment. The Motion of Misjoinder and Severance

was filed almost six months after the superseding indictment was issued and after the trial

date was set by the court. Notwithstanding the defendant alleges prejudice based on

misjoinder and requests severance of all the importation of heroin counts from all of the

possession with intent to distribute cocaine counts. See Docket 417. Co-defendant

Santana alleges prejudice based on an alleged spillover based on the heroin related

counts of a conspiracy to import heroin from Santo Domingo to Puerto Rico and on the

substantive charges of distribution of heroin which remained totally unaltered at the

superseding indictment from the counts as to heroin at the original indictment. He also

alleges that as to the heroin conspiracy he is to accept a modest participation but is


       4
              Several co-defendants were also added in the superseding indictm ent related to cocaine
              substantive distribution.

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reluctant to now do so due to spillover as to the effect on the cocaine related charges.

(Docket 417, p. 6.) However, the court stresses that heroin counts, both the conspiracy

and the substantive counts, remained identical and did not suffer any modifications

whatsoever between the original indictment (Docket 3) and the superseding indictment,

(Docket 308).

      The United States opposed the misjoinder and severance motions first as “untimely”

and later on the merits. (Docket 425.)5

      The court referred the matter to the Magistrate Judge López, (Docket 422). The

Magistrate Judge issued its Report and Recommendation on April 12, 2009 (Docket 479).

The Magistrate Judge first determined that the motion was filed late since the filing was

performed out of bounds from the deadline originally set by the court at the pre-trial, an

“untimely” filing by co-defendant Santana-Cabrera. The reasons as to misjoinder and

severance were well known by the defendant since the original indictment was issued on

March 25, 2009 (Docket 3) and the Misjoinder/Severance Motion was filed untimely from

a court issued Management Order at a pre-trial held on June 11, 2009, (Docket 94), as to

dispositive motion deadline of September 14, 2009.6

      Further, defendant had already filed two dispositive motions that were also late but

handled on the merits by the Magistrate Judge. The current motion of Misjoinder and


      5
             Curiously defendant requested that the m otion filed by the United States was late and
             hence notwithstanding the m erits of defendant’s m otion, the court should blindly grant the
             request notwithstanding the m erits of the m otion, the court declines the invitation. As the
             court provided the defendant plenty of opportunities to file later m otions to suppress “what
             is good for the geese is also good for the gander.”

      6
             Counsel for defendant Santana, as new retained counsel, should have exam ined the pre-
             trial conference notes and Managem ent Order when originally accepting the case at
             Docket 94.

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Severance simply constitutes a “third bite at the apple” and/or motion filing by “piecemeal

litigation” and/or filing of motions ad nauseam by droplets.

       Notwithstanding at the plea hearing of co-defendant Santana held on April 18, 2011,

Docket 502, prior to the selection of the jury, while co-defendant was entering into a

straight plea, the court advised defendant that the motions would be handled on the

merits.7 Further, the court stated to co-defendant Santana that the court would accept a

       7

              The defendant clearly defaulted as to tim eliness in the filing of the m isjoinder and severance
              m otion. The m otion was filed late pursuant to a Managem ent Order deadlines established
              by the court pursuant to Fed. R. Cri. P. 12( c); consequently should defendant not seek an
              extension or seek a valid reason to extend, the period to file dispositive m otions under Fed.
              R. Crim . P. 12(f), the m atter is deem ed frivolous as a m anagem ent order of the court setting
              deadlines under Fed. R. Crim . P. 12 ( c) is deem ed on appeal a valid exercise of the courts
              discretion. United States v. John, 86 F.3d 1147, 1996 U.S. App. Lexis 42159 (1 st Cir. 1996).
              See also, United States v. José R. Lugo Guerrero, 524 F. 3d 5, 2008, U.S. App. Lexis 8138
              (1st Cir. 2008) standing for the proposition that “when a district court sets a deadline for pre-
              trial m otions pursuant to Federal Rule of Crim inal Procedure 12 ( c) a party’s failure to m ake
              certain m otions, including suppression m otions by the deadline constitutes a w aiver,
              although the court m ay grant relief from the waiver for good cause [under] Fed. R. Crim . P.
              12(e). . .W e enforce Rule 12(e) waivers where, as here, the appellant fails to show cause for
              not com plying with the district court’s deadlines.” See United States v. Bashorun, 225 F.3d
              9, 14 (1st Cir. 2000) (stating that a Rule 12 w aiver will be enforced absent a show ing of
              cause even if the district court ultimately addressed the merits of the w aived claim.)”
              (Em phasis ours.)
              Hence, contrary to counsel Zeno’s argum ent that the court can not establish deadlines in
              crim inal cases through m anagem ent orders (Docket 512, Objection to Report and
              Recom m endation p. 1, “there are no such laws, rules or case law”), the court has the power
              and discretion and consequently establish through case m anagem ent orders deadlines for
              filing m otions signifying that non com pliance with a m anagem ent order deadline carried as
              a consequence a waiver pursuant to Fed. Crim . P. 12(e).
              Further, the Notes of Advisory Com m ittee on 2002 crim inal procedure am endm ents state the
              following: “Rule 12( c) includes a non-stylistic change. The reference to the “local rule”
              exception has been deleted to m ake it clear that judges should be encouraged to set
              deadlines for motions. The Com m ittee believed that doing so promotes more efficient
              case management, especially when there is a heavy docket of pending cases. Although the
              rule perm its som e discretion in setting a date for crim inal filings, the Com m ittee believed that
              doing so at an early point in the proceedings would also promote judicial economy.”
              (Em phasis provided.) Puerto Rico is well known for its heavy crim inal m ulti defendant cases
              (leading the nation during various years in filing of m ulti defendant crim inal cases) as is the
              instant case involving m ore than twenty-five defendants.
              Hence, Rule 12 ( c) clearly grants the court the power to establish deadlines “Motion
              Deadline. The court m ay, at the arraignm ent or as soon as practicable, set a deadline for the
              parties to m ake pre-trial m otions and m ay also schedule a m otion hearing.”

              Notwithstanding, to avoid a potential § 2255 allegation of ineffective assistance of
              counsel, the court prefers to handle the matter on the merits.

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conditional plea based on the merits of the late motions of misjoinder and severance. In

fact, the judge even advised the defendant that he could later see the cases even

separately as to the counts of heroin and cocaine (successive trials).8 The court further

granted extra days to object to the Report and Recommendation at defendant Santana-

Cabrera request of continuance of the trial (Docket 491).

       Defendant Santana insists on the misjoinder and severance request after the Report

and Recommendation was issued by Magistrate Judge López as he understands that a

joinder of importation from the Dominican Republic to Puerto Rico has a negative spillover

compared to a cocaine conspiracy to possess with intent to distribute and distribute

cocaine in Puerto Rico and Continental United States.9

       However, the merits of the misjoinder is not a close matter. Co-defendant Santana-

Cabrera is charged as a leader with two separate conspiracies and several substantive

counts dealing with controlled substances which conspiracies overlap in time frame; further

at least one other co-defendant is in common with Santana as to both conspiracies, co-

defendant Soler. Moreover, both conspiracies (heroin and cocaine related) affect Puerto

Rico and Continental United States as the object of the conspiracy was ultimately to

distribute illegal drugs, heroin and cocaine, in Puerto Rico and Continental United States.




      8
              But see footnote #7 as to the fact that the m otion was filed late and will be considered
              “untim ely” by the Court of Appeals notwithstanding that the District Court decided the case
              on the m erits. United States v. José R. Lugo-Guerrero, 524 F. 3d 5, 2008, US App. Lexis
              8138 (1st Cir. 2008) citing United States v. Bachorun 725 F. 3d 9, 14 (1 st Cir. 2000).


      9
              But the penalty under the law of a conspiracy to im port one kilo or m ore of heroin, as well
              as a conspiracy to possess with intent to distribute five kilos or m ore of cocaine, statutorily
              m andate a m inim um under both heroin and cocaine of a m inim um ten years sentence
              increasing to a potential life sentence.

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The conspiracy to import heroin involves importation to Puerto Rico with an object to

distribute heroin in Puerto Rico and Continental United States and the conspiracy of

possession to distribute cocaine is designed to distribute cocaine in Puerto Rico for

ultimate distribution in Puerto Rico and Continental United States. Under the above factual

scenario, the court must examine a Rule 8 request of misjoinder liberally in favor of joinder

(“generously construed in favor of joinder”). United States v. Randazzo, 80 F. 3d 623, 627

(1st Cir. 1996). Further, the matter of misjoinder constitutes a discretionary decision of the

court. United States v. Fenton, 367 F. 3d 14, 21 (1st Cir. 2004).

       As stated before, the conspiracies involve dealings in narcotics (heroin and cocaine)

in large amounts, during overlapping periods of time, involving at least two common co-

defendants, (Santana and Soler), and ultimately designed for distribution of both drugs to

take place in Puerto Rico and Continental United States. Hence, the case has sufficient

common elements and facts to warrant pursuant to Criminal Rule 8 a joinder of causes of

action. Further, the indictment involves some substantive counts that constitute overt acts

to the charged conspiracies.

       The court clarifies that during oral argument at the straight plea colloquy co-

defendant hinted at a veiled argument that the instant conspiracies are not the

conspiracies that actually were executed. The court would also have to deny the motion

as to an allegation of a single or a different conspiracy or even an overarching single

conspiracy because the issue involves merely a “question of fact for the jury and is

reviewed only for sufficiency of evidence.” (Emphasis ours.) United States v. David,

940 F. 2d 722, 732 (1st Cir. 1991). As to whether or not the conspiracy charged in the

indictment is the conspiracy that is adduced by the evidence, “the court should instruct the


                                              8
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jury on the issue of the evidence adduced at trial as a reasonable jury could find more than

one such agreement or could find an agreement different from the one charged.” United

States v. Niemi, 579 F. 3d 123, 126 (1st Cir. 2009). Expressed in alternate fashion: “The

question whether a given body of evidence is indicative of a single conspiracy, multiple

conspiracies an overarching single conspiracy or no conspiracy at all is ordinarily a matter

of fact; a jury’s determination in that regard is subject to review only for evidentiary

sufficiency.” (Emphasis added.) United States v. Portela, 167 F. 3d 687, 696 (1st Cir.

1999) citing United States v. Wihbey, 75 F. 3d 761,774 (1st Cir. 1996). Hence, any

allegation of co-defendant Santana relating to whether the conspiracy as charged is

different from the evidence in the case is totally premature at this time. The same

reasoning applies as to whether a single conspiracy exists rather than several as “in

evaluating whether a single conspiracy existed rather than several, courts consider the

totality of circumstances paying particular heed to factors such as the existence of a

common goal, evidence of interdependence among the participants, and the degrees to

which their roles overlap.” United States v. Fenton, 367 F. 3d at 15.

       But in the instant case the conspiracies appear to be executed differently. The

heroin conspiracy involved a plan of using heroin in pellets swallowed by smugglers who

traveled from Santo Domingo to Puerto Rico. As to the cocaine conspiracy the plan was

to send from Puerto Rico to New York City luggage placed in the belly of the airplanes as

stated in footnote 2. The swallowers of heroin do not appear to match either the carriers

of luggages interchanged at the airport nor the facilitators working at the ramp who would

change tags of the original luggage and place the tags in suitcases that had bricks of

cocaine. Except for Santana and Soler there are no common defendants and there does


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not seem to be any interdependence between the heroin and the cocaine conspiracies.

       Hence, all the issues relating to a different conspiracy, a single or a multiple

conspiracy or a single or an overarching conspiracy constitute an “issue [that] involves a

sufficiency of evidence question.” United States v. Sánchez Badillo, 540 F. 3d 24, 29 (1st

Cir. 2008). The court, as to the spillover allegedly created from the heroin conspiracy to the

cocaine related charges, and defendant’s request to accept a limited liability as to heroin,

is to provide a stern instruction that the limited heroin acceptance applies strictly and

exclusively to the heroin case. Said instruction is deemed to be sufficient as juries are

presumed to follow an instruction. United States v. Saunders, 553 F.3d 81,85, N. 2 (1st Cir.

2009). As to the fact that the defendant seeked to make a limited acceptance, the law “is

less protective of a defendant’s right to testify selectively.” United States v. Alosa, 144 F.3d

693,695 (1st Cir. 1994).

       Considering that the court rejects the misjoinder, the court further incorporates the

well-reasoned arguments made by Magistrate Judge López at the Report and

Recommendation, Docket 479, as to denying the severance requested by co-defendant

Santana as defendants that are charged together should be tried together particularly

considering that the defendant is charged as leader in both conspiracies. United States v.

Soto Beniquez, 356 F. 3d 1, 29 (1st Cir. 2004). The court further joins in the argument that

the violations to the narcotics law are similar in that they are of “the same or similar

character” under United States v. Fenton, 367 F. 3d at 21. The two violations are narcotics

charges of several serious drug offenses involving both heroin and cocaine in large

quantities, in overlapping periods of time, also involving at least two common co-

defendants (Santana and Soler). Moreover, all heroin and cocaine violations were destined

for ultimate distribution both in Puerto Rico and Continental United States designed and

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executed under the leadership of co-defendant Santana. Further, a “joint trial is particularly

strong where the charge is a conspiracy.” United States v. Saunders, 553 F. 3d at 85. As

the matter of severance is considered a discretionary matter under United States v.

Fenton, 367 F. 3d at 22, the court denies the request for severance based on the denial

of misjoinder and the factual scenario described above.

       The court, therefore, denies the misjoinder and severance requested by co-

defendant Manuel Santana Cabrera and affirms the Report and Recommendation issued

by the Magistrate Judge on April 12, 2009 (Docket No. 479).

       The instant opinion and order supersedes the Abridged Order issued on April 27,

2011, Docket 524, as corrected in the Errata Order on May 3rd, 2011, Docket 537.10

       IT IS SO ORDERED.

       At San Juan, Puerto Rico, this 11th day of May 2011.



                                               s/ Daniel R. Domínguez
                                               Daniel R. Domínguez
                                               U. S. District Judge




       10
              Although the court granted defendant the right to m ake a conditional plea based on the
              m isjoinder and severance m otion, the m atter is academ ic as the defendant is the last
              defendant that would go to trial (other co-defendants except for the current on trial have
              all had plead and/or are currently at trial) and, hence, Santana has now a de facto
              severance. Further, the court agreed and granted defendant the right to two successive
              trials, one as to all the heroine related violations followed by a trial as to the cocaine
              related violations. Further, the m otions do not involve any suppression whatsoever as to
              any evidence and/or statem ents m ade by the defendant. Hence, the appeal is absolutely
              m oot in this court’s opinion.

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